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                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF TEXAS
                          LUBBOCK DIVISION

JOHN RICHARD ANDERSON                 §
                                      §
                  Plaintiff           §
                                      §
V.                                    §      CASE NO. 5:17-CV- 00222-M-BQ
                                      §
CONTINENTAL WESTERN                   §
INSURANCE COMPANY AND                 §
CHRISTOPHER LEE MICHELS               §
                                      §
                  Defendants          §
______________________________________________________________________________

 DEFENDANT CONTINENTAL WESTERN INSURANCE COMPANY’S RESPONSE
    IN OPPOSITION TO PLAINTIFF’S MOTION TO REMAND AND BRIEF IN
                                  SUPPORT
______________________________________________________________________________


                                    Respectfully submitted,

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                                    COMPANY, AND CHRISTOPHER LEE
                                    MICHELS



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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION


JOHN RICHARD ANDERSON                 §
                                      §
                  Plaintiff           §
                                      §
V.                                    §      CASE NO. 5:17-CV- 00222-M-BQ
                                      §
CONTINENTAL WESTERN                   §
INSURANCE COMPANY AND                 §
CHRISTOPHER LEE MICHELS               §
                                      §
                  Defendants          §
______________________________________________________________________________

 DEFENDANT CONTINENTAL WESTERN INSURANCE COMPANY’S RESPONSE
    IN OPPOSITION TO PLAINTIFF’S MOTION TO REMAND AND BRIEF IN
                                  SUPPORT
______________________________________________________________________________

TO THE HONORABLE UNITE STATES DISTRICT COURT:

        Defendant Continental Western Insurance Company hereby files this Response in

Opposition to Plaintiff’s Motion to Remand and Brief in Support and respectfully shows the Court

as follows:

                RESPONSE IN OPPOSITION TO MOTION TO REMAND

        Defendant Continental Western Insurance Company (“Continental”) respectfully shows this

Court that Plaintiff’s Motion to Remand should be denied because Christopher Lee Michels

(“Michels”) is improperly joined for the sole purpose of defeating diversity jurisdiction. Plaintiff’s

generic and conclusory allegations fail to state a claim against Michels upon which relief can be

granted.

                                         BACKGROUND

        This lawsuit arises out of an insurance claim for property damage allegedly resulting from a

June 5, 2016 storm. Plaintiff submitted a claim under a policy of insurance issued by Continental for
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loss resulting from damage to Plaintiff’s property. See Doc. 19-1. Dissatisfied with the handling and

results of the claim, Plaintiff filed suit against Continental and Christopher Lee Michels (“Michels”)

for violations of Chapter 541 of the Texas Insurance Code. See id. at 8-10. Continental timely

removed the case to federal court on the basis of diversity jurisdiction, positing that the Texas

citizenship of Michels should be disregarded for the purpose of determining this Court’s jurisdiction

because Michels was improperly joined. Plaintiff now asks this Court to remand the case, arguing

that Michels was not improperly joined. For the reasons detailed below, Continental would

respectfully show Plaintiff’s Motion to Remand should be denied.

                                                ISSUE

        The issue before the Court is whether Michels was improperly joined to this lawsuit. If the

Court finds that Michels was improperly joined, the Court has subject matter jurisdiction over this

suit and must deny the Plaintiff’s Motion to Remand.

                                            ARGUMENT

        This Court has jurisdiction over the subject matter of this case pursuant to U.S.C. § 1332

because this is a civil action in which the properly joined parties are citizens are different states and

where the amount in controversy exceeds $75,000.00. Michels is improperly joined to this suit. As

such, his citizenship should be disregarded when determining whether this Court has diversity

jurisdiction over Plaintiff’s claims against Continental. As Plaintiff is a Texas citizen residing in

Borden County, Texas, and Continental is a corporation formed under the laws of Iowa with its

principal place of business in Iowa, this Court has diversity jurisdiction pursuant to 28 U.S.C. §§

1441, 1446 and applicable case law.

        A. Standards Governing Removal

        A defendant may remove an action to federal court if that court would have original

jurisdiction over the case. 28 U.S.C. § 1441(a). To establish jurisdiction based on diversity, complete

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diversity of citizenship must exist among the properly named parties and the amount in controversy

must exceed $75,000.00. 28 U.S.C. § 1332. The doctrine of improper joinder allows a Court to

disregard citizenship of a non-diverse defendant when: (1) there is actual fraud in the pleading of

jurisdictional facts; or (2) a plaintiff cannot establish a cause of action against the non-diverse party

in state court. Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004). There are no

allegations of actual fraud in the pleading of jurisdictional in this case. When determining if the

second ground for improper joinder is met, the Court evaluates the pleading under a Fed. R. Civ. P.

12(b)(6) analysis to determine if there is a “reasonable basis” to support plaintiff’s claim against the

non-diverse party. Int’l Energy Ventures Mgmt. LLC v. United Energy Group Ltd., 818 F.3d 193, 200 (5th

Cir. 2016). A theoretical basis is not sufficient and there must be a “factual fit between the plaintiff’s

allegation and the pleaded theory of recovery.” Moore v. State Farm Mut. Auto. Ins. Co., 2012 U.S. Dist.

LEXIS 127564, *8-9 (S.D. Tex. September 6, 2012)(citing Ross v. Citifinancial, Inc., 344 F.3d 458, 461-

62 (5th Cir. 2003) (quoting Griggs v. State Farm Lloyds, 181 F.3d 694, 701 (5th Cir. 1999)).

        In order to establish a reasonable basis for the Court to predict that Plaintiff may be able to

recover against Michels, Plaintiff’s pleading must identify a cause of action recognized under state

law and allege facts that support the cause of action. See Larroquette v. Cardinal Health 200, Inc., 466

F.3d 373, 376 (5th Cir. 2006). Bare legal conclusions that lack factual underpinnings do not state a

viable claim. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1950 (2009) (“While legal conclusions can provide the

framework of a complaint, they must be supported by factual allegations.”). The court is under no

obligation to accept as true allegations contained in a complaint that amount to legal conclusions.

Id. at 1949-50. It is not sufficient for Plaintiff to simply plead a cause of action that exists in the

abstract, with conclusory allegations that the local defendant has violated that law. See Kris Hospitality

LLC v. Tri-State Ins. Co of Minn., NO. SA-16-CV-01229-XR, 2017 WL 437424, at *5 (W.D. Tex. Jan.

31, 2017) (“the mere theoretical possibility that a cause of action may be asserted against a non-

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diverse defendant is not enough to require remand”). Instead, “whether the plaintiff has stated a

valid state law cause of action depends upon and is tied to the factual fit between the plaintiff’s

allegations and the pleaded theory of recovery.” Griggs, 181 F.3d at 701. In other words, Plaintiff’s

pleading must do more than merely make allegations that are consistent with actionable conduct;

Plaintiff’s pleading must be sufficiently detailed to allow a court to infer Plaintiff’s alleged right to

relief is plausible. Id. “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the alleged

misconduct.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

        Plaintiff asserts claims against Michels for alleged violations of Chapter 541 of the Texas

Insurance Code. See Doc. 19-1 at 8-10. However, Plaintiff fails to allege “specific actionable

conduct” sufficient to support the causes of action asserted, and therefore fails to state a claim upon

which relief may be granted for such statutory violations. Griggs, 181 F.3d at 699. First, the pleading

fails to allege conduct for which an adjuster, as opposed to a carrier, can be held liable. Second,

Plaintiff’s pleading is merely a parroting of the statutes and fails to allege facts that would support a

violation. For the reasons discussed below, Plaintiff’s statutory claims should be dismissed for

failure to state a claim.

        B. Plaintiff fails to state a claim against Michels for violations of Chapter 541 of the
        Texas Insurance Code upon which relief can be granted

        In its Motion to Remand and Brief in Support, Plaintiff devotes a considerable portion of its

motion to addressing an argument Continental never made in its Notice of Removal, as well as to

copying and pasting their boilerplate, undifferentiated allegations against Michels. Ultimately,

Plaintiff fails to demonstrate why Michels was properly joined.

        As an initial matter, Continental does not argue that an adjuster cannot theoretically be liable

for violating Chapter 541 of the Texas Insurance Code. Determining that Michels can be held liable

under the Texas Insurance Code, however, does not necessarily mean he has been properly joined
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here. The Court must still consider the sufficiency of Plaintiff’s pleading to determine whether there

is a reasonable basis upon which it could predict that Plaintiff could recover against Michels in Texas

state court. In this case, Michels is improperly joined because Plaintiff fails to state a claim against

him upon which relief can be granted because Plaintiff’s allegations amount to conclusory

statements and boilerplate recitations of statutory language.

        Plaintiff asserts Continental and Michels collectively violated 541.060 by (1) misrepresenting

one or more material facts and/or policy provisions relating to coverage; (2) failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of a claim with respect to which

their liability has become reasonably clear; (3) failing to promptly provide a reasonable explanation

of the basis in law or fact for the denial of or offer of a compromise settlement of Plaintiff’s claims;

(4) failing to affirm or deny coverage within a reasonable time; and (5) refusing to pay a claim

without conducting a reasonable investigation. In other words, Plaintiff alleges the Adjuster

Defendants violated Sections 541.060(a)(1), (a)(2)(A), (a)(3), (a)(4) and (a)(7). Doc. 19-1 at 8-10.

                1.     Texas Insurance Code §§ 541.060(a)(1), 541.060(a)(2)(A), 541.060(a)(3),
                541.060(a)(4), and 541.060(a)(7)

        Although an adjuster is a “person” against whom an action for certain violations of Chapter

541 of the Texas Insurance Code may lie, for an adjuster to be liable for violations of the Texas

Insurance Code as an individual, the adjuster must have committed some act that is prohibited by

statute, not just be connected to an insurance company’s denial of coverage. See Messersmith v.

Nationwide Mut. Fire Ins. Co., 10 F. Supp. 3d 721, 724 (N.D. Tex. 2014). Plaintiff fails to allege

conduct by Michels individually that violates the statute.

        Plaintiff fails to allege facts that would otherwise support claims under the Sections

541.060(a)(1), 541.060(a)(2)(A), 541.060(a)(3), 541.060(a)(4), and 541.060(a)(7) of the Texas

Insurance Code. In order to establish a reasonable basis upon which the Court may predict that

Plaintiff can recover against Michels for violations of the Texas Insurance Code, Plaintiff’s pleading
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must do more than allege violations in conclusory terms. Iqbal, 129 S. Ct. at 1950. Parroting the

statutory language without attempting to connect specific conduct of the defendant to such

violations is conclusory and fails to state a claim. See DTND Sierra Invs. LLC v. Bank of Am., N.A.,

871 F. Supp. 2d 567 (W.D. Tex. 2012).

        To state a claim for which relief may be granted, Plaintiff must allege facts that support the

cause of action. See Larroquette, 466 F.3d at 376. Bare legal conclusions that are unsupported by any

factual underpinnings do not state a viable claim.           See Iqbal, 129 S.Ct. at 1950 (“While legal

conclusions can provide the framework of a complaint, they must be supported by factual

allegations.”). The tenet that a court must accept as true all of the allegations contained in a

complaint does not apply to legal conclusions. Id. at 1949-50. To allege a plausible right to relief,

the facts pleaded must suggest liability; allegations that are merely consistent with unlawful conduct

are insufficient. Twombly, 550 U.S. at 566-69 (2007). Plaintiff’s pleading fails to comply with the

requirements of Rule 8 that the pleading contain “a short and plain statement of the claim showing

that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

        Moreover, “[c]laims alleging violations of the Texas Insurance Code . . . are subject to the

requirements of Rule 9(b).” Frith v. Guardian Life Ins. Co. of Am., 9 F. Supp. 2d 734, 742 (S.D. Tex.

1998); see also Bige, Inc. v. Penn-America Ins. Co., 2015 U.S. Dist. LEXIS 119357, *9-10, 2015 WL

5227726 (W.D. Tex. Sept. 8, 2015) (“Texas district courts, however, consistently apply Rule 9(b)’s

requirements to claims under the Texas Insurance Code”) (collecting cases). Compliance with Rule

9(b) “requires allegations of the particulars of time, place, and contents of the false representations,

as well as the identity of the person making the misrepresentation and what he obtained thereby.”

Benchmark Elecs., Inc. v. J.M. Huber Corp., 343 F.3d 719, 724, modified on other grounds, 355 F.3d 356 (5th

Cir. 2003). That is, Rule 9(b)’s particularity requirement “requires ‘the who, what, when, where, and

how’ be laid out.” Benchmark Elecs., 343 F.3d at 724.

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        Plaintiff’s pleading merely tracks the statutory language with conclusory allegations that

Michels violated the statutes. See Doc. 19-1 at 5, 8-10. Plaintiff pleads that Michels violated the

Insurance Code by “misrepresenting one or more material facts and/or policy provisions relating to

coverage.” Doc. 1-1 at 6. Such conduct is prohibited by Tex. Ins. Code § 541.060(a)(1). In the

context of insurance, to be actionable, a misrepresentation must be both specific and affirmative. See

Metro Hospitality Partners, Ltd. v. Lexington Ins. Company, 84 F.Supp.3d 553, 573 (S.D. Tex. 2015)

(Rosenthal, J.). Moreover, “[t]he misrepresentation must be about the details of a policy, not the

facts giving rise to a claim for coverage.” Elizondo v. Metro. Lloyds Ins. Co. of Tex., 2016 WL 4182729,

at *3 (E.D. Tex. Aug. 8, 2016). As demonstrated below, Plaintiff’s pleading fails to provide these

requisite factual specifics to support claims for violations of Section 541.060(a)(1) and therefore fails

to state a claim upon which relief can be granted under either statute. Further, Plaintiff also fails to

allege how it relied on or was damaged by the alleged misrepresentations. Thus, Plaintiff fails to state

a claim on the misrepresentations it alleges Michels made under the Texas Insurance Code. See

Partain v. Mid-Continent Specialty Ins. Services, Inc., 838 F. Supp. 2d 547, 561 (S.D. Tex. 2012), aff’d sub

nom.; Graper v. Mid-Continent Cas. Co., 756 F.3d 388 (5th Cir. 2014)(granting 12(b)(6) motion to dismiss

when the plaintiff failed to plead reliance and causation on allegedly false statements).

        Section 541.060(a)(2)(A) makes “failing to attempt in good faith to effectuate a prompt, fair,

and equitable settlement of a claim with respect to which the insurer's liability has become

reasonably clear” an unfair settlement practice. “[T]his section applies to conduct that precedes the

settlement of a claim.” Thomas v. State Farm Lloyds, No. 3:15-cv-1937-B, 2015 U.S. Dist. LEXIS

150130, at *10 (N.D. Tex. Nov. 4, 2015). Additionally, the statutory language makes clear that

actionable conduct must occur after “the insurer’s liability has become reasonably clear.” Tex. Ins.

Code § 541.060(a)(2)(A). Thus, to state a claim, Plaintiff must allege facts showing Michels engaged

in conduct after Continental’s liability was reasonably clear, but before the settlement of the claim,

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that demonstrates a failure to attempt in good faith to effectuate a prompt, fair, and equitable

settlement of Plaintiff’s claim.

        Section 541.060(3) makes it unlawful to “fail to promptly provide to a policyholder a

reasonable explanation of the basis in the policy … for the insurer’s denial of a claim.” Tex. Ins.

Code § 541.060(3). Here, Plaintiff’s allegations are wholly conclusory statements which track the

statutory language. See Doc. 19-1 at 6, 10-11. As demonstrated below, Plaintiff provides no factual

specifics describing how Michels violated this provision of the Texas Insurance Code.

        Section 541.060(4) makes it an unfair settlement practice to “fail within a reasonable time to

affirm or deny coverage of a claim to a policyholder or submit a reservation of rights to a

policyholder.” Tex. Ins. Code § 541.060(4). Again Plaintiff provides nothing more than conclusory

statements that Michels violated the statute coupled with a recitation of the statutory language.

Plaintiff does not provide any facts to support the failure to promptly provide a reasonable

explanation for the determination regarding coverage, again failing to show the Court there is a

reasonable possibility of recovery against Michels under this Section.

        Finally, Section 541.060(a)(7) prohibits the “[refusal] to pay a claim without conducting a

reasonable investigation with respect to the claim.” Plaintiff alleges in conclusory fashion that

Michels’ investigation was not thorough, but elsewhere Plaintiff acknowledges it was Defendant

Continental – not Michels – who “continues to delay in the payment for the damages to the

property.” See Doc. 19-1 at 6. As shown below, Plaintiff fails to plead facts describing how Michels

failed to perform a thorough investigation, what damages Michels omitted, or why such damages

should have been included. (emphasis added) Plaintiff again fails to state a valid claim against

Michels.

        While this Court and others have concluded an adjuster may be liable for a violation of

Sections 541.060(a)(1), (a)(2)(A), (a)(3), (a)(4) and (a)(7), “[t]hat conclusion, however, does not

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relieve plaintiffs of their responsibility to ‘plead[] factual content that allows the [C]ourt to draw the

reasonable inference that the defendant is liable for the misconduct alleged.’” Thomas, 2015 U.S.

Dist. LEXIS 150130, at *9-10. “[C]onclusory allegations or legal conclusions masquerading as factual

conclusions will not suffice.” Fernandez-Montes v. Allied Pilots Ass’n, 987 F.2d 278, 284 (5th Cir. 1993).

Moreover, “[c]onclusory or generic allegations of wrongdoing on the part of the non-diverse

defendant are not sufficient to show that the defendant was not improperly joined.” Vazquez v. Wal-

Mart. Assocs., Inc., No. 3:11-cv-2739-G, 2012 U.S. Dist. LEXIS 94460, at *9 (N.D. Tex. July 9, 2012)

(quoting Randle v. SmithKline Beecham Corp., 338 F. Supp. 2d 704, 708 (S.D. Miss. 2004)) (internal

quotation marks omitted). In this case, Plaintiff’s pleading regarding the basis of its claims against

Michels are conclusory statements that fail to meet the applicable standards of Rules 8(a) and 9(b).

        Conclusory means “[e]xpressing a factual inference without stating the underlying facts on

which the inference is based.” Merritt Hawkins & Assocs., LLC v. Gresham, 948 F. Supp. 2d 671, 675

(N.D. Tex. June 7, 2013) (quoting Black's Law Dictionary 329 (9th ed. 2009)) (internal quotation

marks omitted). Plaintiff makes the following allegations regarding Michels, each of which is either a

conclusory or generic allegation which cannot support a claim, or fails to make a plausible claim that

Michels violated the applicable Sections of the Texas Insurance Code.

                        a.      “Michels based his claim decision on second hand information from
                        an unlicensed inspector sent to deny the claim” and “failed to perform a
                        thorough investigation of the claim by never inspecting the property.” Doc.
                        19-1 at 5.

Here, Plaintiff’s Petition is missing key facts regarding the inspection of Plaintiff’s Property. Where

the state court petition omits discrete facts, a district court may pierce the pleadings and conduct a

summary inquiry to determine whether the plaintiff states a valid claim. See Salazar v. Allstate Texas

Lloyd’s, Inc., 455 F.3d 571, 574 (5th Cir. 2006). Though Michels himself never visited the property in

Gail, Texas, he did assign the claim to independent adjuster John Garland (“Garland”) who

inspected the property on July 12, 2016. Exhibit A at 1. Garland’s report includes 124 photographs
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of the interior and exterior of the property, demonstrating that he did, in fact, inspect the property

and provide a report to Michels. Plaintiff fails to address Garland in his pleading or Motion to

Remand. Instead, Plaintiff alleges Michels violated the Texas Insurance Code because he did not

personally inspect the property, while wholly failing to mention that an independent adjuster

inspected the property on behalf of Continental at Michels’ request. Given a more complete factual

picture of the inspection of Plaintiff’s property, it is clear Plaintiff fails to make a plausible claim that

Michels “misrepresent[ed] one or more material facts and/or policy provisions relating to coverage,”

or failed “to attempt in good faith to effectuate a prompt, fair, and equitable settlement of . . . a

claim with respect to which the insurer's liability has become reasonably clear.” Tex. Ins. Code §§

541.060(1) and (a)(2)(A).

                         b. “Michels was improperly trained and performed an outcome oriented and
                         unreasonable investigation of Plaintiff’s damages” and “[t]he outcome
                         oriented investigation of Plaintiff’s claim resulted in a biased evaluation of
                         Plaintiff’s damages to the Property and the estimated damages were severly
                         underestimated.” Doc. 19-1 at 9.

This statement is entirely devoid of factual specifics. How was Michels improperly trained? How was

the investigation outcome oriented or unreasonable? Plaintiff again fails to plead a viable claim that

Michels failed to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the

claim after liability became reasonably clear.

                         c. “Michels did not properly assess all damages caused by the Storm and
                         omitted covered damages from the report including the full extent of damage
                         to the roof.” Doc. 19-1 at 9.

This statement is entirely conclusory. Despite Plaintiff’s desire for a different outcome, this amounts

to nothing more than a bona fide dispute about coverage, which does not show Continental’s

liability was “reasonably clear.” See Richardson East Baptist Church v. Phila. Indem. Ins. Co., 2016

Tex.App. LEXIS 3267, *29-30 (Tex.App.—Dallas 2016, no pet.). Plaintiff fails to show how



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Continental’s liability was reasonably clear and fails to demonstrate how Michels failed to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the claim.

                        d. “Michels failed to explain to Plaintiff the reasons for the offer or offers of
                        an inadequate settlement. Specifically, Defendant Michels failed to offer
                        Plaintiff adequate compensation without any explanation as to why full
                        payment was not being made.” Doc. 19-1 at 10.

As an initial matter, Plaintiff’s Petition again leaves out key facts. As discussed previously, where the

state court petition omits discrete facts, a district court may pierce the pleadings and conduct a

summary inquiry to determine whether the plaintiff states a valid claim. See Salazar, 455 F.3d at 574.

In a letter dated August 5, 2016, Michels provided Plaintiff with the results of his investigation as

well as an explanation as to why payment was not forthcoming. See Exhibit B. Despite Plaintiff’s

claims to the contrary, and despite Plaintiff’s dissatisfaction with the outcome of his claim, the letter

clearly demonstrates that Michels did explain the results of the investigation. Even without

considering the letter, Plaintiff’s allegations of wrongdoing under Section 541.060(a)(3) fails to

address how Michels’ explanation was not prompt and fails to address why that explanation was not

reasonable. Moreover, Plaintiff’s assertion that Michels “failed to offer Plaintiff adequate

compensation” is contradicted by Plaintiff’s own prior assertion that “[t]o date, Defendant

Continental continues to delay in the payment for the damages to the Property.” Doc. 19-1 at 11, 6.

(emphasis added). These conclusory and contradictory allegations fail to provide the Court with a

reasonable basis to predict Plaintiff can recover against Michels.

                        e. “Michels’ unfair settlement practices, as described above, of failing within a
                        reasonable time to affirm or deny coverage of the claim to Plaintiff, or to
                        submit a reservation of rights to Plaintiff, constitutes an unfair method of
                        competition and an unfair or deceptive act or practice in the business of
                        insurance.” Doc. 19-1 at 11.

Plaintiff again fails to address the letter sent by Michels on August 5, 2016. See Exhibit B. Further,

these allegations are entirely conclusory. Plaintiff fails to provide any factual specificity whatsoever in

support of its claims under Section 541.060(a)(4). Instead, these allegations are merely a recitation of
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the elements of the Texas Insurance Code, and as such, fail to provide the Court a reasonable basis

to predict that Plaintiff can recover against Michels.

        Plaintiff’s remaining allegations against Michels combine the above “facts” with boilerplate,

conclusory allegations of wrongdoing generally against the undifferentiated Defendants. As such,

Plaintiff’s pleading fails to allege facts that would support the proposition that Michels failed to

properly investigate, provide an explanation, or effectuate a prompt, fair, and equitable settlement of

the claim. Plaintiff has only pleaded a theoretical possibility that Michels can be held liable under

Sections 541.060(a)(1), (a)(2)(A), (a)(3), (a)(4) and (a)(7) in this case. See Smallwood, 385 F.3d at 573

(holding that pleadings must show more than a “mere theoretical possibility of recovery”). Because

Plaintiff’s allegations are conclusory and at most provide only a theoretical possibility of recover,

there is no reasonable basis for the Court to predict Plaintiff might recover against non-diverse

Defendant Michels under these theories.

        C. Plaintiff’s Summary Judgment Evidence

        Continental asks the Court to disregard Plaintiff’s summary judgment-type evidence. Though

the Court may also pierce the pleadings and conduct a summary judgment-like inquiry “to identify

the presence of discrete and undisputed facts,” such an inquiry is typically focused on identifying

facts “that would preclude plaintiff’s recovery against the in-state defendant” rather than on proving

the merits of Plaintiff’s claims. Salazar, 455 F.3d at 574. Here, Plaintiff offers summary-judgment

evidence not to bring omitted, discrete, and undisputed facts to the Court’s attention, but rather

seems to be an attempt to convince the Court that he has sufficient evidence to support causes of

action against Michels. While the Court has broad discretion to consider summary-judgment-type

evidence, it would be inappropriate to consider Plaintiff’s documents since, as Plaintiff states in his

Motion to Remand, “the focus of the inquiry must be on the joinder, not on the merits of Plaintiff’s

case.” Doc. 18 at 6. When determining whether removal jurisdiction exists, the claims in the state

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court petition are considered as they existed at the time of removal. Manguno v. Prudential Prop. &

Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002). A district court should not conduct an evidentiary

hearing on questions of fact in order to make a determination as to whether diversity exists. See

Smallwood, 385 F.3d at 574. In this instance, the evidence cited by Plaintiff does not bring discrete,

omitted facts to the Court’s attention and the Court should disregard these documents for purposes

of determining subject matter jurisdiction.

                                        ATTORNEYS’ FEES

        Plaintiff requests attorneys’ fees on the basis of “improper removal” and “complete

disregard of the case law in this district.” The United States Supreme Court has held that “the

standard for awarding fees should turn on the reasonableness of the removal” and “[a]bsent unusual

circumstances, courts may award attorney’s fees under § 1447(c) only where the removing party

lacked an objectively reasonable basis for seeking removal.” Martin v. Franklin Capital Corp., 546 U.S.

132 (2005); see also Valdes v. Wal-Mart Stores, Inc., 199 F.3d 290, 293 (5th Cir. 2000) ([t]he application

of §1447(c) requires consideration of the propriety of the removing party’s actions based on an

objective view of the legal and factual elements in each particular case.”). Here, it is clear Continental

had an objectively reasonable basis for seeking removal. This response cites numerous Northern

District opinions in which courts have held that removal was proper in cases similar to this one.

Continental’s removal of this suit and its position that Michels was improperly joined for the

purpose of defeating diversity jurisdiction is not only right on the law, but is objectively reasonable

given Northern District of Texas precedent on this issue. The fact that the plaintiff has not alleged

any specific conduct on the part of Michels that indicate individual liability demonstrates that

Michels was improperly joined and that a reasonable basis for removal existed.

        Additionally, the Northern District has routinely refused to award attorneys’ fees in cases

similar to this one, even on the occasions in which it has granted remand. See Gibson v. Liberty Ins.

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Corp., 2017 WL 3268028 (N.D. Tex. July 31, 2017); TMV, LLC v. Choice Mech., Inc., 2014 WL

4358482 (N.D. Tex Sept. 3, 2014); Patton v. ADESA Tex., Inc., 985 F. Supp. 2d 818 (N.D. Tex. Dec.

4, 2013); Western States Asset Mgmt. v. AIX Specialty Ins. Co., 2013 WL 3349514 (N.D. Tex. July 3,

2013). As reasoned in Gibson, even when the Court determines that remand is proper, seeking

removal based on improper joinder is not objectively unreasonable, “particularly in light of

conflicting district court opinions regarding personal liability of insurance adjusters under the

various provisions of the Texas Insurance Code.” 2017 WL 3268028 at *27; see also Ferguson v. Sec.

Life of Denver Ins. Co., 996 F. Supp. 597, 604 (N.D. Tex. 1998) (denying non-removing party’s motion

for attorney’s fees despite granting its motion to remand where the law underlying the removal was

unsettled).

        Rule 11 also permits a court to impose sanctions “against a party who signs a pleading that is

(1) not well grounded in fact, (2) not warranted by existing law or a good faith argument for its

extension, or (3) interposed needlessly and solely for the purpose of delay.” Fed. R. Civ. P. 11. Like

sanctions under § 1447(c), district courts have similar “broad discretion” in determining whether to

award Rule 11 sanctions. Childs v. State Farm Mut. Auto. Ins. Co., 29 F.3d 1018, 1027 (5th Cir. 1994).

As demonstrated above, and given numerous examples of similar cases in the Northern District

where remand was denied, there is no basis for sanctions under Rule 11 because Continental had a

reasonable argument for seeking removal based on other similar cases before the Northern District

of Texas. Further, Plaintiff’s Motion to Remand fails to demonstrate that the removal of this case

was not well grounded in fact or removed solely for the purpose of delay. Accordingly, Continental

respectfully requests that this Court deny the plaintiff’s request for attorneys’ fees and costs.

                                           CONCLUSION

        Plaintiff’s Petition shows no reasonable basis for this Court to predict that Plaintiff may

recover against Michels. Without a specific allegation of actionable conduct, there is no “factual fit”

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between Plaintiff’s allegations and the pleaded theory of recovery against Michels. See First Baptist

Church of Mauriceville v. Guide One, 2008 WL 4533729, at *6 (E.D. Tex. Sept. 29, 2008). Each of the

claims Plaintiff asserts against Michels suffers from a fatal defect: either the claim is not cognizable

in law or Plaintiff has failed to plead sufficient facts supporting essential elements of the claim.

Accordingly, this Court should dismiss Plaintiff’s claims against Michels pursuant to Federal Rules

of Civil Procedure 12(b)(6).

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant Continental Western Insurance

Company respectfully requests dismissal of Plaintiff’s claims against him for violations of the Texas

Insurance Code as stated in Plaintiff’s pleading and for any such other and further relief to which it

may be justly entitled.




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                                             Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been forwarded
to the following counsel of record in accordance with the Federal Rules of Civil Procedure, on this
7th day of November, 2017.

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